                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
RCH/SK/EMR/PP/MED                                  271 Cadman Plaza East
F. #2019R00927                                     Brooklyn, New York 11201


                                                   May 24, 2022

By E-mail and ECF

Cesar DeCastro, Esq.
111 Fulton Street - 602
New York, NY 10038

                Re:   United States v. Genaro Garcia Luna
                      Criminal Docket No. 19-576 (BMC)

Dear Counsel:

               Pursuant to 18 U.S.C. § 3500, the government is disclosing to you the
enclosed material related to 15 potential law enforcement witnesses. This production is
marked “Protected Material” and is subject to the terms of the Court’s February 18, 2020,
Protective Order. See Dkt. No. 19. Some of this material is duplicative of material produced
to you on March 10, 2022, regarding potential expert witnesses. The government will
disclose additional § 3500 material related to these witnesses as it becomes available and will
produce § 3500 material regarding other witnesses sufficiently in advance of trial.

                                                   Very truly yours,

                                                   BREON PEACE
                                                   United States Attorney

                                           By:      /s/
                                                   Ryan C. Harris
                                                   Saritha Komatireddy
                                                   Erin M. Reid
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cc: Clerk of Court (BMC) (via ECF)
